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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 DONNA PRESTON, individually,
 and as administrator of the Estate of
 Nicholle Knight,                           CIVIL ACTION FILE NO.

       Plaintiff,                           1:22-CV-01435-CAP

 v.

 WERNER ENTERPRISES, INC.,

       Defendant.

      DEFENDANT WERNER ENTERPRISES, INC.'S ANSWER AND
            DEFENSES TO PLAINTIFF'S COMPLAINT


      COMES NOW, WERNER ENTERPRISES, INC., Defendant in the above-

styled action, and files this, its Answer to Plaintiff's Complaint, showing this

Honorable Court as follows:

                                 FIRST DEFENSE

      Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                               SECOND DEFENSE

      This Defendant denies it was negligent in any manner, or that any negligent

act or omission on its part caused or contributed to any damages alleged in Plaintiff's

Complaint.
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                                 THIRD DEFENSE

      The sole and proximate cause of the accident referenced in this Complaint was

the negligence, including but not limited to, negligence per se, of a party or parties

other than the Defendant. Therefore, Plaintiff is barred from any recovery against

this Defendant.

                               FOURTH DEFENSE

      Plaintiff's alleged damages were directly and proximately caused by the

decedent's own contributory/comparative negligence and failure to exercise ordinary

care, and, as such, Plaintiff is not entitled to recover from this Defendant.

                                 FIFTH DEFENSE

      Decedent, by the exercise of ordinary care, could have avoided the incident

referenced in the Complaint; and therefore, Plaintiff is not entitled to recover from

this Defendant.

                                 SIXTH DEFENSE

       Defendant reserves the right to seasonably amend these affirmative defenses

as needed or as warranted by the discovery in this case.

                               SEVENTH DEFENSE

       To the extent any claim for punitive damages or attorney's fees and expenses

of litigation, pursuant to O.C.G.A. § 13-6-11 or pursuant to any other theory, is or

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may be made by Plaintiff, no basis exists for such claims and, further, imposing

punitive damages under the circumstances of this case upon Defendant would violate

their rights under the Constitution of the State of Georgia and the United States

Constitution. Further in this regard, Defendant specifically shows that a bona fide

dispute exists to the extent that Defendant is not liable to Plaintiff.

                                EIGHTH DEFENSE

      To the extent shown by evidence through discovery, Defendant raises all those

affirmative defenses set forth in O.C.G.A. §9-11-8(c) and O.C.G.A. §9-11-12(b),

and none of these defenses are waived.

                                 NINTH DEFENSE

      There is no causal relationship between any alleged acts and/or omissions on

the part of this Defendant and any alleged injuries to the Plaintiff.

                                 TENTH DEFENSE

      Plaintiffs cannot recover to the extent that there was an intervening or

superseding cause.

                              ELEVENTH DEFENSE

       Plaintiffs cannot recover against this Defendant to the extent that there was

another entity who was negligent or responsible.




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                              TWELFTH DEFENSE

      This Defendant responds to the individually numbered paragraphs of the

Complaint as follows:

                        PARTIES AND JURISDICTION

                                        1.

      Defendant is without information to either admit or deny the allegations of

Paragraph 1 of the Complaint. Therefore, same is denied.

                                        2.

      Paragraph 2 of the Complaint is admitted.

                                        3.

      Paragraph 3 of the Complaint is admitted.

                                        4.

      Paragraph 4 of the Complaint is admitted.

                               BACKGROUND

                                        5.

      Defendant admits on March 13, 2022 Eric Alexander was driving a tractor

trailer on I-20 in Cobb County but denies the remaining allegations of Paragraph 5

of the Complaint as stated.




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                                        6.

      Defendant is without information to either admit or deny the allegations of

Paragraph 6 of the Complaint. Therefore, same is denied.

                                        7.

      Paragraph 7 of the Complaint is admitted.

                                        8.

      Defendant restates its responses to the allegations contained in Paragraphs 1

through 7 of Plaintiff's Complaint and incorporates them herein by reference as if

set forth verbatim.

                                        9.

      Paragraph 9 of the Complaint is denied.

                                       10.

      Paragraph 10 of the Complaint is denied.

                                       11.

      Paragraph 11 of the Complaint is denied.

                                       12.

      Defendant restates its responses to the allegations contained in Paragraphs 1

through 11 of Plaintiff's Complaint and incorporates them herein by reference as if

set forth verbatim.

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                                        13.

      Paragraph 13 of the Complaint is admitted.

                                        14.

      Paragraph 14 of the Complaint is admitted.

                                        15.

      Paragraph 15 of Plaintiff's Complaint is denied.

                                        16.

      Defendant restates its responses to the allegations contained in Paragraphs 1

through 15 of Plaintiff's Complaint and incorporates them herein by reference as if

set forth verbatim.

                                        17.

      Defendant admits that it owed certain duties under Federal and Georgia law,

including a duty due care in the operation of motor vehicles. To the extent anything

further is alleged by Paragraph 17, Defendant denies Paragraph 17 of the Complaint

as stated.

                                        18.

      Paragraph 18 of the Complaint is denied.

                                        19.

      Paragraph 19 of the Complaint is denied.

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                                        20.

      Defendant restates its responses to the allegations contained in Paragraphs 1

through 19 of Plaintiff's Complaint and incorporates them herein by reference as if

set forth verbatim.

                                        21.

      Defendant is without information to either admit or deny the allegations of

Paragraph 21 of the Complaint. Therefore, same is denied.

                                        22.

      Paragraph 22 of the Complaint is denied.

                                        23.

      Paragraph 23 of the Complaint is denied.

                                        24.

      Defendant restates its responses to the allegations contained in Paragraphs 1

through 24 of Plaintiff's Complaint and incorporates them herein by reference as if

set forth verbatim.

                                        25.

      Paragraph 25 of the Complaint is denied.

      This Defendant denies any and all allegations and prayers for relief contained

in the WHEREFORE clause/Prayer for Relief of Plaintiff's Complaint. All

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remaining allegations and inferences contained in Plaintiff's Complaint not

heretofore specifically addressed, are denied in their entirety.

      WHEREFORE, Defendant, having fully answered Plaintiff's Complaint,

prays as follows:

      a)     that it be discharged without cost or liability;

      b)     that it have a trial by a jury of twelve persons as to all issues properly

             triable by a jury;

      c)     that a Pre-Trial Conference be held;

      d)     that all costs and attorneys' fees be assessed against Plaintiff; and

      e)     that it have such other relief as the Court deems just and proper.

      This 6th day of May, 2022.

                                                HALL BOOTH SMITH, P.C.


                                                /s/ Paul E. Petersen
                                                SCOTT H. MOULTON
                                                Georgia Bar No. 974237
                                                SEAN B. COX
                                                Georgia Bar No. 664108
                                                PAUL E. PETERSEN III
                                                Georgia Bar No. 791066
                                                Counsel for Defendant




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DEFENDANT DEMANDS
TRIAL BY JURY




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
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DONNA PRESTON, individually,
and as administrator of the Estate of
Nicholle Knight,                           CIVIL ACTION FILE NO.

       Plaintiff,                          1:22-CV-01435-CAP

v.

WERNER ENTERPRISES, INC.,

       Defendant.

                         CERTIFICATE OF SERVICE


      I hereby certify that I have this day served a copy of the within and foregoing
DEFENDANT WERNER ENTERPRISES, INC.'S ANSWER AND
DEFENSES TO PLAINTIFF'S COMPLAINT upon all parties to this matter by
depositing a true copy of same in the U.S. Mail, proper postage prepaid, addressed
to counsel of record as follows and/or filing said document with the CM/ECF system
which will automatically send electronic notification to the following:

                               Michael Goldberg
                                Eric J.D. Rogers
                              Fried Goldberg LLC
                              3550 Lenox Road NE
                                   Suite 1500
                            Atlanta, GA 30326-4302
                           michael@friedgoldberg.com
                            eric@friedgoldberg.com

      This 6th day of May, 2022.


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                                          HALL BOOTH SMITH, P.C.


                                          /s/ Paul E. Petersen
                                          SCOTT H. MOULTON
                                          Georgia Bar No. 974237
                                          SEAN B. COX
                                          Georgia Bar No. 664108
                                          PAUL E. PETERSEN III
                                          Georgia Bar No. 791066
                                          Counsel for Defendant

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DEFENDANT DEMANDS
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